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                            IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO


         JOSEPH CALDWELL,

                           Plaintiff,

         vs.                                                                      No. CIV-20-00003-JB\JFR

         UNIVERSITY OF NEW MEXICO BOARD OF
         REGENTS, NASHA TORREZ, EDDIE NUNEZ,
         LOBO DEVELOPMENT CORPORATION, and
         ACC OP (UNM SOUTH) LLC,

                           Defendants.

                                    INITIAL SCHEDULING ORDER

         THIS MATTER will be before me for scheduling, case management, discovery and both

non-dispositive and dispositive motions. The Federal Rules of Civil Procedure, as amended, as

well as the Local Rules of the Court apply to this lawsuit.

         The parties, appearing through counsel or pro se, will “meet and confer” no later than April

14, 2020, to formulate a provisional discovery plan. FED. R. CIV. P. 26(f). The time allowed for

discovery is generally 120 to 150 days. The parties will cooperate in preparing a Joint Status

Report and Provisional Discovery Plan (“JSR”), which follows the sample JSR available at the

Court’s web site.1 The parties shall fill in the blanks for suggested/proposed dates. The Court

will determine actual case management dates after consideration of the parties’ requests. The

Plaintiff, or the Defendant in removed cases, is responsible for filing the JSR by April 20, 2020.

The parties may not modify case management deadlines on their own. Good cause must be


         1
           Pursuant to Administrative Order No. 06-173, the JSR replaces and supersedes the Provisional Discovery
Plan and the Initial Pretrial Report, effective January 2, 2007. Please visit the Court’s web site, www.nmcourt.fed.us,
to download the standardized Joint Status Report and Provisional Discovery Plan form.
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shown, and the Court’s express and written approval obtained, for any modification of the dates in

the scheduling order that issue from the JSR.

        Initial disclosures under FED. R. CIV. P. 26(a)(1) shall be made within fourteen (14) days

of the meet-and-confer session.

        A Rule 16 scheduling conference will be conducted in my courtroom at the Pete V.

Domenici United States Courthouse, Vermejo Courtroom (4th Floor), 333 Lomas N.W.,

Albuquerque, New Mexico, on April 24, 2020 at 8:30 a.m.2 If all parties agree that a rule 16

scheduling conference is unnecessary, they may submit a Waiver of Rule 16 Scheduling

Conference, which must reflect the concurrence of all parties.

        At the Rule 16 scheduling conference, counsel will be prepared to discuss discovery needs

(including electronic discovery) and scheduling, all claims and defenses, the use of scientific

evidence and whether a Daubert3 hearing is needed, initial disclosures, and the time of expert

disclosures and reports under FED. R. CIV. P. 26(a)(2). We will also discuss settlement prospects

and alternative dispute resolution possibilities, and consideration of consent pursuant to 28 U.S.C.

§ 636(c).     The parties should also be prepared to discuss the location of the trial; highest

consideration will be given to the convenience of the counsel, witnesses, and parties. The parties

and Court will also discuss the jury pool if a jury trial is requested. Client attendance is not

required.


2
  Counsel may appear by telephone. Please advise my Courtroom Deputy (348-2289) at least 24 hours before the
scheduling conference if any counsel will appear by telephone. Counsel appearing by telephone are responsible for
placing the telephone call to the Court’s AT&T conference line: 1-888-684-8852 Access Code: 5469085


        3
            Daubert v. Merrell Dow Pharmaceuticals, 509 U. S. 579 (1993).


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       The parties are reminded of the disclosure requirements in rule 7.1 of the Federal

Rules of Civil Procedure:

       (a) Who Must File; Contents.

        A nongovernmental corporate party must file…a disclosure statement that:

               (1) identifies any parent corporation and any publicly held corporation
               owning 10% or more of its stock; or

               (2) states that there is no such corporation.

       (b) Time to Filing; Supplemental Filing.

        A party must:

               (1) file the disclosure statement with its first appearance, pleading,
               petition, motion, response, or other request addressed to the court, and

               (2) promptly file a supplemental statement if any required information
               changes.

       The Court requires strict compliance with this rule, especially with the duty to update

disclosures, to help it uncover and assess any potential conflicts of interest.

       If service on all parties is not complete, the Plaintiff(s) appearing through counsel or pro

se is (are) responsible for notifying all parties of the contents of this order. Pretrial practice in

this cause shall be in accordance with the foregoing.



                                                        UNITED STATES DISTRICT JUDGE




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